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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION


 JOHN DOE 22,

                        Plaintiff,                            Case No. 2:20-cv-1385

        v.                                                    Judge Michael H. Watson

 THE OHIO STATE UNIVERSITY,                                   Chief Magistrate Judge
                                                              Elizabeth P. Deavers
                        Defendant.



             STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(ii), Plaintiff John Doe 22 and Defendant The

  Ohio State University (“OSU”) hereby stipulate to the DISMISSAL WITH PREJUDICE of

  any and all claims which have been, could have been, or should have been asserted against OSU

  in the Plaintiff’s Complaint. The parties will bear their own attorneys' fees, costs and expenses.

  Stipulated And Agreed To By:

   Attorney for Plaintiff:                     Attorney for Defendant:

   /s/ Richard W. Schulte                      DAVID A. YOST
   Richard W. Schulte (0066030)                ATTORNEY GENERAL OF OHIO
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                                      The Ohio State University




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                                   CERTIFICATE OF SERVICE

         I certify that a copy of the foregoing was filed electronically on July 31, 2020. Notice

  was sent by operation of the Court’s electronic filing system to all other counsel who have

  entered an appearance and any parties who have entered an appearance through counsel. The

  parties may access this filing through the Court’s ECF system.



                                                            /s/ Richard W. Schulte
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